Second Amended Prob 12
(DNT Rev. 11/16)
                                                                                  2123 MAY 23 PH t.: 21
                              UNITED STATES DISTRICT COURT
                                         For The
                                  DISTRICT OF VERMONT

 U.S.A. vs. Bryan Wright                                          Docket No. 5: 19CR00043-001

                   Second Amended Petition on Probation and Supervised Release

COMES NOW ALISHA WAITE, PROBATION OFFICER OF THE COURT, presenting an
official report upon the conduct and attitude of Bryan Wright, who was placed on supervision by
the Honorable Geoffrey W. Crawford sitting in the Court at Burlington on November 1, 2022, and
imposed the general terms and conditions theretofore adopted by the Court and also imposed
special conditions and terms as follows:

You must participate in a mental health program approved by the United States Probation Office.
You shall contribute to the cost of services rendered in an amount to be determined by the
probation officer based on ability to pay or the availability of third party payment.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined
in 18 U.S.C. Section 1030(e)(l)), other electronic communications or data storage devices or
media, or office, to a search conducted by a United Stated probation officer. Failure to submit to
a search may be grounds for revocation of release. You must warn any other occupants that the
premises may be subject to searches pursuant to this condition. An officer may conduct a search
pursuant to this condition only when reasonable suspicion exists that the defendant has violated a
condition of supervision and that the areas to be searched contain evidence of this violation. Any
search much be conducted at a reasonable time and in a reasonable manner.

You must participate in substance abuse treatment, which may include a substance abuse
assessment with a licensed substance abuse provider, and abide by any programmatic treatment
recommendations. This program may include testing to determine whether you have reverted to
the use of drugs or alcohol. You shall contribute to the cost of services rendered based on ability
to pay or the availability of third-party payment. You must refrain from the use of alcohol and
other intoxicants during and after treatment.

You must complete 25 hours of community service within the first 6 months of supervised release.
The probation officer will supervise the participation in the program by approving the program
(agency, location, frequency of participation, etc.). You must provide written verification of
completed hours to the probation officer.

    RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
                 (if short insert here; if lengthy write on separate sheet and attach)


      1.   Mandatory Condition 3: You must refrain from any unlawful use of a controlled
           substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the
        court.

        On or about February 6, 2023, the defendant used a substance containing cocaine as
        evidenced by a urine sample provided by the defendant on that date which subsequently
        confirmed positive for the presence of the cocaine metabolite.

        On an unspecified date in or about March 2023, the defendant used a substance
        containing cocaine as evidenced by a sweat patch worn by the defendant from March 6,
        2023 to March 13, 2023, which confirmed positive for the presence of cocaine and the
        cocaine metabolite.

        On an unspecified dates in or about April 2023, the defendant used a substance containing
        cocaine as evidenced by multiple sweat patches worn by the defendant from April 6,
        2023 to April 14, 2023, from April 14, 2023 to April 21, 2023, from April 21, 2023 to
        April 27, 2023, and from April 27, 2023 to May 8, 2023, which all confirmed positive
        for the presence of cocaine and the cocaine metabolite.



PRAYING THAT THE COURT WILL AMEND this Petition and order the issuance of a
summons so that Bryan Wright may appear before the Court to show cause why his term of
supervised release should not be revoked.

ORDER OF COURT                                        I declare under penalty of perjury that the
                                                      foregoing is true and correct.
Considered and ordered this 23rd day of May,
2023, and ordered

filed and made a part of the records in the above
case.
                                                      Executed on May 23, 2023




                                                      Alisha Waite
                                                      U.S. Probation Officer
                                                      Place: Burlington

                                                      Date: May 23, 2023
